Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 1 of 12




            EXHIBIT 10
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 2 of 12
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                  IN THE UNITED STATES DISTRICT COURT
2                FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                         SAN FRANCISCO DIVISION
4                       Case No. 3:19-cv-00410-EMC
5
6      ASETEK DANMARK A/S,
7            Plaintiff and
             Counter-Defendant,
8
           v.
9
       COOLIT SYSTEMS INC.,
10
             Defendant and
11           Counter-Claimant,
12     COOLIT SYSTEMS USA INC.,
       COOLIT SYSTEMS ASIA PACIFIC
13     LIMITED, COOLIT SYSTEMS
       (SHENZHEN) CO., LTD.,
14
                 Defendants,
15
       CORSAIR GAMING INC., and
16     CORSAIR MEMORY INC.,
17           Defendants.
18
19              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
20                 VIDEO DEPOSITION OF ANDRÉ S. ERIKSEN
21                PURSUANT TO FRCP 30(B)(1) AND 30(B)(6)
22                        VOLUME I - PAGES 1-146
23                       TUESDAY, AUGUST 24, 2021
24                           AALBORG, DENMARK
25

                                                                 Page 1

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 3 of 12
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1            BE IT REMEMBERED THAT, pursuant to the Federal
2      Rules of Civil Procedure, the Zoom video deposition
3      of ANDRÉ S. ERIKSEN was taken before Marilynn
4      Hoover, California CSR No. 8841; on Tuesday, August
5      24, 2021, at the hour of 4:05 p.m. CEST; the witness
6      testifying from Aalborg, Denmark.
7
8      FINNEGAN HENDERSON FARABOW GARRETT & DUNNER, LLP
9          BY MR. ROBERT F. McCAULEY
10         3300 Hillview Avenue
11         Palo Alto, California 94304
12         Telephone:     650-849-6600
13         E-mail:    Robert.McCauley@finnegan.com
14         On behalf of Plaintiff and Counter-defendant
15
16     COOLEY, LLP
17         BY MR. REUBEN H. CHEN
18         3175 Hanover Street
19         Palo Alto, California 94304
20         Telephone:     650-843-5000
21         E-mail:    RChen@cooley.com
22         On behalf of Defendants Corsair Gaming Inc.,
23         Corsair Memory Inc., and CoolIT Systems Inc.
24
25     ALSO PRESENT:      David West, videographer

                                                                 Page 2

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 4 of 12
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                            EXAMINATION INDEX
2                                                                    PAGE
3      Examination by Mr. Chen                                                 6
4
5
6                               EXHIBIT INDEX
7      EXHIBIT NO.      DESCRIPTION                                  PAGE
8      Exhibit 78       Korean Intellectual Property
9                       Office Patent No. 2003-0031027                    67
10     Exhibit 163      U.S. Patent No. 8,240,362                         17
11     Exhibit 164      U.S. Patent No. 8,245,764                         17
12     Exhibit 165      U.S. Patent No. 9,733,681                         17
13                      (re-marked as Exhibit 178 in
14                      volume 2 of the deposition)
15     Exhibit 165      U.S. Patent No. 10,078,354                        17
16     Exhibit 166      U.S. Patent No. 10,078,355                        17
17     Exhibit 167      U.S. Patent No. 10,613,601                        17
18     Exhibit 168      U.S. Patent No. 10,599,196                        17
19     Exhibit 169      Stipulation regarding
20                      representative products                           30
21     Exhibit 170      USPTO judgment                                    45
22     Exhibit 171      02 March 2012 Gen 4 status                        49
23     Exhibit 172      U.S. Patent No. 8,746,330                    109
24     Exhibit 173      U.S. Patent No. 9,603,284                    109
25     Exhibit 174      U.S. Patent No. 9,057,567                    109

                                                                 Page 3

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 5 of 12
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                         EXHIBIT INDEX (CONT.)
2      EXHIBIT NO.      DESCRIPTION                                  PAGE
3      Exhibit 175      U.S. Patent No. 10,274,266                   109
4      Exhibit 176      02 March 2012 Gen 4 status                   131
5      Exhibit 177      Plaintiff Asetek Danmark A/S's
6                       second supplemental objections
7                       and responses to defendant
8                       CoolIT Systems Inc.'s first set
9                       of interrogatories to plaintiff
10                      Asetek Danmark A/S (Nos. 1, 5,
11                      7, 8, and 9)                                      131
12
13
14
15
16
17
18
19
20
21
22
23
24
25

                                                                 Page 4

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 6 of 12
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1              TUESDAY, AUGUST 24, 2021; AALBORG, DENMARK

2                   THE VIDEOGRAPHER:   Okay.     Good afternoon.     16:05

3      We are on the record.     The time is 4:05 p.m. Danish         16:05

4      time.     The date today is August 24th, 2021.                 16:05

5                   Please note that microphones are sensitive        16:05

6      and may pick up whispering and private                         16:05

7      conversations.     Audio and video recording will              16:05

8      continue to take place unless all parties agree to             16:05

9      go off the record.                                             16:05

10                  This is media unit 1 of the video-recorded        16:05

11     deposition of André Eriksen, volume 1, taken by                16:05

12     counsel for defendant and counterclaimant in the               16:05

13     matter of Asetek Danmark A/S versus CoolIT Systems             16:05

14     Inc. et al., filed in the United States District               16:05

15     Court, Northern District of California, San                    16:05

16     Francisco Division.     The case number,                       16:05

17     3:19cv00410-EMC.                                               16:05

18                  The deposition is being conducted using           16:06

19     Remote Counsel technology, and all participants are            16:06

20     attending remotely.     My name is David West; I'm the         16:06

21     videographer.     The court reporter is Marilynn               16:06

22     Hoover.     We represent Veritext Legal Solutions.      I'm    16:06

23     not related to any party in this action, nor am I              16:06

24     financially interested in the outcome.                         16:06

25                  Counsel will now state their appearances          16:06

                                                                     Page 5

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 7 of 12
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1      and affiliations for the record.          If there are any       16:06

2      objections to proceeding, please state them at the               16:06

3      time of your appearance, beginning with the noticing             16:06

4      attorney.                                                        16:06

5                  MR. CHEN:     This is Reuben Chen for                16:06

6      defendant and counterclaimant CoolIT Systems Inc.                16:06

7      and defendants Corsair Gaming Inc. and Corsair                   16:06

8      Memory Inc.                                                      16:06

9                  MR. McCAULEY:     Robert McCauley on behalf          16:06

10     of Asetek Danmark A/S and Mr. Eriksen.                           16:06

11                 THE VIDEOGRAPHER:      Thank you.                    16:06

12                 The court reporter may now swear the                 16:06

13     witness in, and we will continue.                                16:06

14                             ANDRÉ ERIKSEN,                           16:06

15     called as a witness, being duly sworn on oath, was               16:06

16     examined and did testify as follows:                             16:06

17                 THE REPORTER:     Thank you.       You may begin,    16:07

18     counsel.                                                         16:07

19                 MR. CHEN:     Thank you, Ms. Reporter.               16:07

20                              EXAMINATION                             16:07

21     BY MR. CHEN:                                                     16:07

22          Q.     Good afternoon, Mr. Eriksen.                         16:07

23          A.     Good afternoon.                                      16:07

24          Q.     Could you please state your full name for            16:07

25     the record.                                                      16:07

                                                                       Page 6

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 8 of 12
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1      split-flow.     Many others have done it -- Danger Den          20:22

2      has done it, I believe Koolance has done it -- and              20:23

3      split-flow has been used in many applications.                  20:23

4           Q.      But you haven't compared the Antarctica            20:23

5      device to the exact claims of CoolIT's four patents             20:23

6      in front of you; correct?                                       20:23

7           A.      What I said was -- and you asked me                20:23

8      whether I had; and, as I informed you earlier, I                20:23

9      don't analyze patent claims and try to speculate on             20:23

10     the coverage.     I use external help for that.                 20:23

11          Q.      Right.   So you can't say one way or the           20:23

12     other whether Antarctica is prior art to the CoolIT             20:23

13     patents; correct?                                               20:23

14                  MR. McCAULEY:    Objection.                        20:23

15                  THE WITNESS:    No.                                20:23

16                  MR. McCAULEY:    Mischaracterizes prior            20:23

17     testimony.                                                      20:23

18                  THE WITNESS:    That's not correct.    What I      20:23

19     said was I had got external help to see what it is              20:23

20     CoolIT's claims are covering, and then I compare                20:23

21     that with the Antarctica, and then I come to my                 20:23

22     opinion that you asked me about and you got it.                 20:24

23          Q.      BY MR. CHEN:    Are there any other                20:24

24     products, besides Antarctica, that you believe are              20:24

25     prior art to CoolIT's four patents in front of you?             20:24

                                                                    Page 116

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 9 of 12
                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                 MR. McCAULEY:     Objection.                      20:24

2      Mischaracterizes prior testimony.                            20:24

3                 THE WITNESS:     I would have to read the         20:24

4      patents to really give you an honest answer to that.         20:24

5           Q.    BY MR. CHEN:     Well, sitting here today, do     20:24

6      you recall any other prior art products or                   20:24

7      references, besides Antarctica, to the CoolIT                20:24

8      patents in front of you?                                     20:24

9           A.    Yes.     The Koolance and the Danger Den.         20:24

10          Q.    Any others?                                       20:24

11                          (Reporter request.)                     20:24

12                THE WITNESS:     Danger Den is                    20:24

13     straightforward Danger and Den, D-E-N; and the other         20:24

14     one, Koolance, is K-O-O-L-A-N-C-E.                           20:24

15                THE REPORTER:     Thank you.                      20:25

16                THE WITNESS:     You're welcome.                  20:25

17          Q.    BY MR. CHEN:     Were there channels used in      20:25

18     the Antarctica product?                                      20:25

19          A.    Yes.                                              20:25

20          Q.    Do you know the widths of those channels?         20:25

21          A.    It will be a best guess.                          20:25

22          Q.    What's your best guess?                           20:25

23          A.    I will say between 0.6 and 0.8                    20:25

24     millimeters.      I actually invented the tool to making     20:25

25     the fins; I just don't recall how wide they were.            20:26

                                                                 Page 117

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 10 of 12
                   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1              Q.      Do you know the widths of the Koolance              20:26

2      channels?                                                           20:26

3              A.      No, not at all.     I will have to see a            20:26

4      sample or drawing or something like that.              I just --    20:26

5      I just remember back in the days that, before I                     20:26

6      think CoolIT even existed, you know, these products                 20:26

7      were on the market.                                                 20:26

8              Q.      Do you know the widths of the Danger Den            20:26

9      product?                                                            20:26

10             A.      No.                                                 20:26

11             Q.      Do you know the widths of the channels on           20:26

12     that product?                                                       20:26

13             A.      Yeah, I got you.     No, I don't.                   20:26

14                     MR. CHEN:   Okay.    Thank you.                     20:26

15                     Okay.   We've been going for just about an          20:27

16     hour.        Why don't we take a break at this point, and           20:27

17     then we can just also discuss how long we're going                  20:27

18     to go for the rest of today.                                        20:27

19                     THE WITNESS:    That's fine.      How long?   Ten   20:27

20     minutes?        Five minutes?                                       20:27

21                     MR. CHEN:   Yeah, let's take a ten-minute           20:27

22     break.                                                              20:27

23                     THE WITNESS:    Okay.                               20:27

24                     MR. McCAULEY:     Reuben, I've been                 20:27

25     informed --                                                         20:27

                                                                       Page 118

                                   Veritext Legal Solutions
                                        866 299-5127
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 11 of 12
                   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                           REPORTER CERTIFICATE
2
3             I, MARILYNN HOOVER, CSR No. 8841 for the State
4      of California, do hereby certify:
5             That prior to being examined, the witness named
6      in the foregoing deposition was duly sworn to
7      testify the truth, the whole truth, and nothing but
8      the truth;
9             That said deposition was taken down by me in
10     shorthand at the time and place therein named, and
11     thereafter reduced by me to typewritten form; and
12     that the same is a true, correct, and complete
13     transcript of the said proceedings.
14                  Before completion of the deposition,
15     review of the transcript [X] was [ ] was not
16     requested.      If requested, any changes made by the
17     deponent (and provided to the reporter) during the
18     period allowed shall be appended hereto.
19            I further certify that I am not interested in
20     the outcome of the action.
21            Witness my hand this 26th day of August 2021.
22
23
                                 <%17707,Signature%>
24                               Marilynn Hoover, RPR
25                               California CSR No. 8841

                                                               Page 142

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:19-cv-00410-EMC Document 387-14 Filed 03/31/22 Page 12 of 12
                   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                          CERTIFICATE OF WITNESS
2
3
4             I, ANDRÉ S. ERIKSEN, do hereby certify that I
5      have read the foregoing portion of the transcript of
6      my deposition taken on Wednesday, the 24th day of
7      August 2021, and that the said transcript is true
8      and correct except for such corrections as I may
9      have noted on the previous page.
10
11
12
13                              ____________________________
14                                     ANDRÉ S. ERIKSEN
15
16
17
18
19     Subscribed and sworn to before me
20     this ____ day of ____________ 2021.
21
22
23     ___________________________________
24     Notary Public, State of ___________
25     My Commission Expires:          ___________

                                                               Page 143

                               Veritext Legal Solutions
                                    866 299-5127
